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     9                       UNITED STATES DISTRICT COURT
    10                      CENTRAL DISTRICT OF CALIFORNIA
    11 Y.Y.G.M. SA d.b.a. BRANDY                 Case No. 2:19-cv-04618-RGK (JPRx)
       MELVILLE, a Swiss corporation,            Hon. R. Gary Klausner
    12
                    Plaintiff,
    13                                           PLAINTIFF’S NOTICE OF
             vs.                                 APPEAL
    14
       REDBUBBLE, INC., a Delaware
    15 corporation,                              PTSC Date: May 24, 2021
                                                 Trial Date: June 17, 2021
    16               Defendant.
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                                  PLAINTIFF’S NOTICE OF APPEAL
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     1               Pursuant to Federal Rules of Appellate Procedure 3 and 4, notice is hereby
     2 given that Plaintiff Y.Y.G.M. SA d.b.a. Brandy Melville hereby appeals the Court’s
     3 July 27, 2021 Order (Docket No. 204), July 27, 2021 Final Judgment Order (Docket
     4 No. 206), October 5, 2021 Order (Docket No. 218), and all interlocutory orders that
     5 gave rise to the Final Judgment. This appeal is taken to the United States Court of
     6 Appeals for the Ninth Circuit.
     7
     8 DATED: October 19, 2021                   BROWNE GEORGE ROSS
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    12                                           By:        /s/ Keith J. Wesley
                                                            Keith J. Wesley
    13
                                                 Attorneys for Plaintiff
    14                                           Y.Y.G.M. SA d.b.a. Brandy Melville
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                                          PLAINTIFF’S NOTICE OF APPEAL
Case 2:19-cv-04618-RGK-JPR Document 220 Filed 10/19/21 Page 3 of 4 Page ID #:12217




     1                                   CERTIFICATE OF SERVICE
     2               I hereby certify that on this 19th day of October, 2021, I electronically filed
     3 the foregoing PLAINTIFF'S NOTICE OF APPEAL with the Clerk of the Court
     4 using the CM/ECF system which will send notification of such filing to the
     5 following:
     6                                SEE ATTACHED SERVICE LIST
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    11                                                       Claudia Bonilla
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                                                Plaintiff’s Notice of Appeal
Case 2:19-cv-04618-RGK-JPR Document 220 Filed 10/19/21 Page 4 of 4 Page ID #:12218




     1                                      SERVICE LIST
     2                           Atari Interactive, Inc. v. Redbubble Inc.
                   U.S.D.C. N.D. CA, Oakland Division Case No. 4:18-CV-03451-JST
     3        [Related to Case Nos. 3:18-cv-03843-JST; 3:18-cv-04115; 4:18-cv-04949-JST;
                                          and 19-cv-00264-JST]
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                                          Plaintiff’s Notice of Appeal
